                                                             LIL i2A 3lP cJb
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June 3, 2022
                                                            JUN 03 2022

Attn: To Whom It May Concern



                   Affidavit of Instruction

Hello, my name is Juli Mazi. Attached to this letter are facts of the

court to be reviewed and examined pertaining to my case, case#

3:21-71156-MAG. I have acquired additional consul to help me better

understand my rights.




                                                                  - - - ... •
                                                       ca�li Mazi
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